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13                                  UNITED STATES DISTRICT COURT
14                             NORTHERN DISTRICT OF CALIFORNIA
15                                     SAN FRANCISCO DIVISION
16

17   ASHLEY GJOVIK,                                 Case No. 23-cv-4597-EMC

18                     Plaintiff,                   DEFENDANT’S NOTICE OF
                                                    WITHDRAWAL WITHOUT
19          v.                                      PREJUDICE OF MOTION TO DISMISS
                                                    FIRST AMENDED COMPLAINT
20   APPLE INC.,
                                                    Judge:        Hon. Edward M. Chen
21                     Defendant.                   Trial Date: None Set
                                                    Action Filed: September 7, 2023
22                                                  Hearing Date: February 8, 2024

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                                                        DEFENDANT’S NOTICE OF WITHDRAWAL OF MOTION
                                                                        TO DISMISS [23-CV-4597-EMC]
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                                                 DEFENDANT’S NOTICE OF WITHDRAWAL OF MOTION
                                                                 TO DISMISS [23-CV-4597-EMC]
       Case 3:23-cv-04597-EMC Document 36 Filed 12/27/23 Page 3 of 3



 1          TO PLAINTIFF ASHLEY GJOVIK:

 2          PLEASE TAKE NOTICE that Defendant Apple Inc. hereby withdraws without prejudice

 3   its Motion to Dismiss Plaintiff’s First Amended Complaint (Dkt No. 30) in light of the filing of

 4   Plaintiff’s Second Amended Complaint on December 21, 2023 (Dkt No. 32).

 5
     Dated: December 27, 2023                    ORRICK, HERRINGTON & SUTCLIFFE LLP
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 7
                                                 By:              /s/ Jessica R. Perry
 8                                                                JESSICA R. PERRY
                                                                 Attorneys for Defendant
 9                                                                     APPLE INC.
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                                                                   DEFENDANT’S NOTICE OF WITHDRAWAL OF
                                                  -1-                MOTION TO DISMISS [23-CV-4597-EMC]
